            2:25-cv-00374-wks        Document 142         Filed 05/22/25   Page 1 of 3




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF VERMONT


RÜMEYSA ÖZTÜRK,
                 Petitioner,
v.
DONALD J. TRUMP, in his official capacity
as President of the United States; PATRICIA
HYDE, in her official capacity as the New
England Field Office Director for U.S.
Immigration and Customs Enforcement;                 Case No. 25-cv-00374-wks
MICHAEL KROL, in his official capacity as
HSI New England Special Agent in Charge,
U.S. Immigration and Customs Enforcement;
TODD LYONS, in his official capacity as
Acting Director, U.S. Immigration and
Customs Enforcement; KRISTI NOEM, in
her official capacity as Secretary of the United
States Department of Homeland Security; and
MARCO RUBIO, in his official capacity as
Secretary of State,

               Respondent.


    PETITIONER’S UNOPPOSED MOTION FOR ADMISSION PRO HAC VICE OF
                         MICHAEL K.T. TAN

       Pursuant to Rule 83.1(b)(2) of the Local Rules of Civil Procedure for the Federal District

Court, District of Vermont, Petitioner respectfully moves this Honorable Court to admit Michael

K.T. Tan as co-counsel for the Petitioner in this case.

       In support of this motion Petitioner submits the Affidavit of Michael K.T. Tan and in

Support of Motion for Admission Pro Hac Vice along with his certificate of good standing. In

further support of this motion, Petitioner states as follows:

       1.      Local counsel, Lia Ernst, is a member in good standing of the Bar of the State of

Vermont and the Bar of this Court;
            2:25-cv-00374-wks       Document 142        Filed 05/22/25      Page 2 of 3




       2.      Ms. Ernst vouches for the good moral character and veracity of Mr. Tan who

seeks admission to this Court pro hac vice;

       3.      Ms. Ernst will continue to participate in this action and is fully prepared to

represent the Petitioner at any time and in any capacity, and will provide a local office for service

of papers as required by Local Rule 83.1(b)(4);

       4.      Mr. Tan is an attorney at the American Civil Liberties Union Foundation, 125

Broad Street, New York, NY 10004;

       5.      Mr. Tan is a member in good standing of the Bar of the State of New York. He

has not been denied admission or disciplined in accordance with Local Rule 83.1(b)(2)(B)(iv),

and have not otherwise been denied admission or disciplined by any state or federal court;

       6.      The granting of this motion will not require modification of any scheduling order

entered pursuant to Fed. R. Civ. P. 16(b);

       7.      Mr. Tan has fully reviewed and is familiar with the Federal Rules of Civil and

Criminal Procedure, the Local Rules of the District Court for the District of Vermont, and the

Vermont Rules of Professional Conduct;

       8.      Pursuant to Local Rule 7(a)(7), undersigned counsel for Petitioner certifies that

the U.S. Attorney’s Office for the District of Vermont has been consulted and does not object to

the relief requested; and

       9.      This motion is accompanied by payment in the amount of $150.

WHEREFORE, Petitioner respectfully requests that attorney Michael K.T. Tan be admitted to

practice before this Honorable Court pro hac vice.


                                                  2
          2:25-cv-00374-wks   Document 142   Filed 05/22/25   Page 3 of 3




Respectfully submitted,                                 Date: May 22, 2025

/s/ Lia Ernst
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Counsel for Petitioner




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